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      Masters Tickets



             Ticket Information
             Practice Rounds Tickets and a limited number of Daily Tournament Tickets are
             available this year. Practice Rounds and Daily Tournament tickets are sold in advance,
             through a selection process, only after receipt of an online application. Only one
             application per person / address will be accepted (i.e., one per household / family
             residing together). Only apply from your permanent residential address. Do not apply
             from a student, temporary, second home or business address. Do not apply for
             tickets on behalf of a friend or relative, as a gift, or to sell. By completing the
             application you certify these tickets are for your personal use. Duplicate applications
             or applications which are subsequently determined to have false or misleading
             information will not be given consideration or may have any offer of tickets withdrawn.
             All applicants must be 21 years of age or older. No applications will be accepted
             through the mail. Applicants may apply for any and all days, however, are eligible
             to win only one day.


             We have recently completed enhancements to our online application process. To
             ensure the best user experience, you may be asked to reset your account password
             upon entering a new application for 2023.


             PRACTICE ROUNDS TICKETS
             Practice Rounds tickets are daily grounds passes valid for one of the three Practice
             Round days (Monday, Tuesday or Wednesday). Practice Rounds tickets for Monday,
             Tuesday, or Wednesday cost $100 each plus any appropriate shipping and handling, if
             applicable.

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             DAILY TOURNAMENT TICKETS
             Daily Tournament tickets are daily grounds passes valid for one of the four
             Tournament days (Thursday, Friday, Saturday or Sunday). Daily Tournament tickets
             cost $140 each plus any appropriate shipping and handling, if applicable.


             The application deadline for both Practice Rounds and Daily Tournament tickets for
             the 2023 Masters® Tournament is June 21, 2022. Daily Tournament tickets will be
             awarded first. Anyone not selected for Daily tickets, who also applied for Practice
             Rounds, will then be included in the selection for Practice Rounds tickets. All
             applicants will be notified in late July via email when the random selection process is
             completed.


             Series Badge Patrons (those individuals currently on our Patrons List receiving
             badges each year), employees, and other Related ANGC parties are not eligible to
             apply for Daily Tournament tickets. They may however apply for Practice Rounds
             tickets.


             No additional tickets/badges will be sold at the Masters® Tournament gates. Persons
             of all ages must have a ticket to gain entry to the grounds. Patron Tickets will be
             limited to a total of two entries per day.


             Applications for Practice Rounds and Daily Tournament tickets are only good for the
             next upcoming Tournament. If you would like to be considered for credentials in future
             years, you will need to re-apply.


             This is not a sweepstakes or "give-away," but rather, a pre-qualification drawing from
             those persons wishing to purchase tickets to the Masters® Tournament. No purchase
             is necessary to submit your request online; however, should you be notified that your
             name has been selected to purchase tickets, you will be required to make your
             payment in full.


             For additional information regarding ticketing please contact the Masters Tournament
             Ticket Office at 706-667-6700.

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